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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ and )
                                                   )
LUIS GORDILLO, et al.,
                                                   )
Individually and on behalf of all others similarly )
                                                   )
situated,
                                                   )
                                                   )
               Plaintiff-Petitioners,
                                                   )     No. 1:18-cv-10225-MLW
                                                   )
        v.
                                                   )
                                                   )
KEVIN K. McALEENAN, et al.,
                                                   )
                                                   )
               Defendants-Respondents.
                                                   )
                                                   )


                                      [PROPOSED] ORDER

WOLF, D.J.                                                                          _______, 2019

       As requested in Petitioners’ July 25, 2019 Motion for Order to Show Cause, it is hereby

ORDERED that: No later than ________, 2019, Respondents shall show cause why this Court

should not order the release of the individuals identified in Respondents’ July 12 detention report

and discussed in Petitioners’ July 25 memorandum of law. If the noncitizens in question are not

released prior to the adjudication of this matter, Respondents shall detain them within the

jurisdiction of the Boston Enforcement and Removal Operations (“Boston ERO”).




                                                 UNITED STATES DISTRICT JUDGE




                                                  1
